 

Case 1:18-cv-21798-.]EI\/| Document 9 Entered on FLSD Docket 05/30/2018 Page 1 of 2

RETURN OF SERVlCE

UN|TED STATES DiSTR|CT COURT
Southern District of Florida

Case Number: 1:18-CV~21798-UU
Plaintiff:
V|NCENZO SURACE

VS.

Defendant:
lL GlARDlNC, LLC dIb/a ll GlARDlNO, a Florida limited liability company, BARBARA
PELLlGRlNl, an individual, and lMAM DUZ, an individual

For:

Robert Brock, Esq.

LOWELL J. KUV|N, LAW OFF|CES
17 East Flagler St.

Suite 223

l\/|iami, FL 33131

Received by l\/letro Process Service, |nc. on the 16th day of |V|ay, 2018 at 1:27 pm to be served on lL G|ARD|NO, LLC, clo
Registered Agent CRA|G M. DORNE, PA, 3132 PGNCE DE LECN BLVD, CORAL GABLES, FL 33134.

|, Jesus Guerra, do hereby affirm that on the 24th day of May, 2018 at 10:05 am, l:

EFFECTED CORPORATE SERVICE by serving the Within named Limited Liability
Corporation by delivering a true copy of the Summons In a Civil Action and Complaint (Demand
For Jury Trial) at the address of 2655 LEJEUNE RD, PHZC, CORAL GABLES, FL 33134 With
the date and hour endorsed thereon by me to JESIE CUELLAR as AUTHORIZED AGENT /
EMPLOYEE of the Registered Agent listed With the Florida Division of Corporations, pursuant
to F.S. 48.062 (1).

Additional lnfomiation pertaining to this Service:

1ST ADDRESS~ ATTE|\/lPTED SERV|CE AT 3132 PONCE DE LEON BLVD., CORAL GABLES, FL 33134 WHERE l WAS
ADV|SED THAT MR. DORNE (R/A) NO LONGER KEEPS AN OFF|CE AT TH|S LOCAT|ON.

2ND ADDRESS - LOCATED AND SERVED AT THE ALTERNATE ADDRESS PROV|DED, 2655 LE JEUNE ROAD, PH ZC,
CORAL GABLES, FL 33134

l certify that l am over the age of 18, have no interest in the above action, and am authorized, in~good standing, in the judicial
circuit in which the process was served. ,

 
 

Under penalties of perjury, | declare that i have read the forgoing document and th tthe facts ated in it are true.

      
 

wt/»~»---~»-~~;>
Jésu
.P. t

M ro Process Service, lnc.
1 est Flagler Street
ite #418
Miami, FL 33130
(305) 374-7387

Our Job Seria| Number: |\/lPS-2018001858

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AO 440 (Rev. 06/12) Summons in a Civil Action

/:§UNITED STATES DISTRICT CoURT

for the

 

 
   

 

Southern District of Florida

VlNCENZO SURACE,

 

Plaintij"(s)
V.

lL G|ARD|NO, LLC d/b/a || Giardino, a Florida limited
liability company, BARBRA PELLlGRlNl, an
individual, and ll\/lAl\/l DUZ, an individual,

 

V\/\./\./\/\./\/\/V\/\/V

Defendant(s)

 

TOZ (Defendant’s name and address) lL G|ARD\NO, LLC, C/O RegiStered Agei'ii
CRA|G |Vl. DORNE, PA

A lawsuit has been filed against you. / /7 QC/

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you

are the United States or a United States agency, or an officer or employee of the United States described m bed. K. t,iv.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Robert W. Brock |l, Esq.

The Law Office of Lowe|l J. Kuvin, LLC

17 East Flagler, Street, Suite 223

l\/liami, Florida 3313'|

Te|: 305.358.6800

FaX: 305358.6808

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

SUMMUNS

Date: 05/07/2018

s/ Randi Marks
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